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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                                SOUTHERN DIVISION


  UNITED STATES OF AMERICA,                                   4:23-CR-40041-KES
                       Plaintiff,                        ORDER FOR ADDITIONAL
                                                               BRIEFING
         vs.

  MARWAN ABDULKAREEM HAMDAN,

                       Defendant.


      Pending before the court is defendant, Marwan Hamdan’s, motion to suppress.

Docket 29. Magistrate Judge Duffy held an evidentiary hearing and subsequently

issued a Report and Recommendation. Docket 32; Docket 40. The Report found

Detective Mayberry and Detective Leacraft violated Hamdan’s Fourth Amendment

rights by impermissibly prolonging a routine traffic stop under Rodriguez v. United

States, 575 U.S. 348, 354 (2015). Docket 40 at 25-26. Nevertheless, the Report found

exclusion to be inappropriate based on language in Herring v. United States, 555 U.S.

135, 144 (2009). Docket 40 at 26-29. In Herring, the Supreme Court stated that the

“exclusionary rule serves to deter deliberate, reckless, or grossly negligent conduct, or

in some circumstances recurring or systemic negligence.” 555 U.S. at 144.

      In Herring, the Court held that an officer’s reasonable reliance on a negligent

bookkeeping error by another record keeper did not justify exclusion. See Herring, 555

U.S. at 137, 147-48. Herring falls within a series of cases in which the Court has

extended the so-called “good-faith” exception that was originally articulated in United

States v. Leon, 468 U.S. 897, 913-22 (1984). In Leon, the Court held that generally,

the exclusionary rule does not apply where an officer reasonably relies on a defective

search warrant issued by a judge. See id. Leon reasoned that the exclusionary rule
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serves as a deterrent to police misconduct, and thus suppressing evidence that officers

discovered based on the actions of an independent judge’s mistake does not align with

such purpose because where there is no police illegality, there is “nothing to deter.” Id.

at 920-21.

      Shortly after issuing Leon, the Supreme Court extended its reach by holding

exclusion to be inappropriate when officers reasonably but mistakenly relied on

statutes authorizing warrantless administrative searches that were later declared

unconstitutional. See Illinois v. Krull, 480 U.S. 340, 355-57 (1987). The Court then

decided Arizona v. Evans, 514 U.S. 1, 4, 14-16 (1995), in which the Court extended

Leon to an instance in which officers reasonably, but erroneously, relied on court

employees’ representations that there was an outstanding arrest warrant. The Court in

Herring extended Evans to a situation in which a record keeper at a police station

incorrectly informed officers of an outstanding arrest warrant, and such officers

reasonably relied on the mistake. See Herring, 555 U.S. at 137, 147-148. In the most

recent decision in this line of cases, the Court in Davis v. United States, 564 U.S. 229,

239-40 (2011) held that exclusion is improper when an officer reasonably relied on

then-binding judicial precedent authorizing a search at the time such officer acted,

but whose search was later determined to violate the Fourth Amendment. In all of

these cases, the Court has made clear that despite the name of this exception being

the “good-faith” exception, the relevant inquiry is not whether officers subjectively

acted in good faith, but rather “whether a reasonably well-trained officer would have

known that the search was illegal” in light of “all of the circumstances.” Leon, 468 U.S.

at 922, n. 23; Krull, 480 U.S. at 355 (“[T]he standard of reasonableness we adopt is an

objective one; the standard does not turn on the subjective good faith of individual

officers.”); Herring, 555 U.S. at 145-46; Davis, 564 U.S. at 241.


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       But none of these Supreme Court cases directly address the situation here:

whether Leon’s “good-faith” exception applies to on-the-ground decisions by law

enforcement officers who did not rely on any outside sources of information, but

rather possibly miscalculate 1 the lawfulness of their actions based on their own

judgment. Neither party briefed this issue before Magistrate Judge Duffy issued the

Report, and the Government did not submit briefing on this issue after the Report

found Leon’s exception applicable. Based on the lack of briefing and because the

Report appears to recommend an extension of the “good-faith” exception, the court

requests the parties brief the following issue:

       Whether the principles of Leon should be extended in instances where officers

do not rely on outside information but rather their own judgments, and if so, whether

the “good-faith” exception should apply to the law enforcement officers’ actions in this

instant case.

       Thus, it is

       ORDERED that the parties file additional briefing on these issues. Both

parties’ initial briefs are due May 30, 2024, and the parties’ responses to each

others’ briefs are due June 6, 2024.

       Dated May 13, 2024.
                                          BY THE COURT:


                                          /s/ Karen E. Schreier
                                          KAREN E. SCHREIER
                                          UNITED STATES DISTRICT JUDGE




1 At this time, the court states no position about whether it agrees with the

Report’s findings that law enforcement officers violated the Fourth Amendment.
See Docket 40 at 25-26.
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